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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

AG Oncon, LLC; AG Ofcon, Ltd.; AQR Absolute
Return Master Account, L.P.; AQR DELTA Master
Account, L.P.; AQR Delta Sapphire Fund, L.P.;

AQR Funds—AQOR Diversified Arbitrage Fund;
AOR Opportunistic Premium Offshore Fund L.P.;
AOR UCITS Funds; CNH CA Master Account, L.P.;
CNH Diversified Opportunities Master Account,
L.P.; Lazard Asset Management LLC on behalf of
certain of its managed accounts; Lazard Rathmore
Master Fund, L.P.; HFR CA Lazard Rathmore
Master Trust; Lord Abbett Investment Trust ~ Lord
Abbett Convertible Fund; Vermont Mutual Insurance
Company; Suttonbrook Capital Portfolio LP;
Suttonbrook Eureka Fund, LP; DBX Convertible
Arbitrage 13 Fund; Nomura Waterstone Market
Neutral Fund; Prime Capital Master SPC-GOT WAT
MAC Segregated Portfolio; Waterstone Offshore ER
Fund, LTD; Waterstone Market Neutral MAC 51
Lid.; Waterstone MF Fund, Ltd.; Waterstone Market
Neutrai Fund.

Plaintiffs,
Vv.

Jon §. Corzine, J. Randy MacDonald, Henri J.
Steenkamp, David P. Bolger, Eileen 8. Fusco, David
Gelber, Martin J. Glynn, Edward L. Goldberg, David
I. Schamis, Robert S. Sloan, Citigroup Global
Markets Inc., Deutsche Bank Securities Inc.,
Goldman, Sachs & Co., Jefferies & Company, Inc.,
J.P. Morgan Securities LLC, Merrill Lynch, Pierce,
Fenner & Smith Incorporated, RBS Securities Inc.,
and Sandler O’Neill + Partners, L.P.,

Defendants.

 

 

 

 

COMPLAINT

JURY TRIAL DEMANDED

 

Plaintiffs AG Oncon, LLC; AG Ofcon Ltd.; AQR Absolute Return Master Account, L.P.;

AQR DELTA Master Account, L.P.; AQR Delta Sapphire Fund, L.P.; AQR Funds-—-AQR

Diversified Arbitrage Fund; AQR Opportunistic Premium Offshore Fund L.P.; AQR UCITS
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Funds; CNH CA Master Account, L.P.; CNH Diversified Opportunities Master Account, L.P.;
Lazard Asset Management LLC on behalf of certain of its managed accounts, Lazard Rathmore
Master Fund, L.P.; HFR CA Lazard Rathmore Master Trust; Lord Abbett Investment Trust -—
Lord Abbett Convertible Fund; Vermont Mutual Insurance Company; Suttonbrook Capital
Portfolio LP; Suttonbrook Eureka Fund, LP; DBX Convertible Arbitrage 13 Fund; Nomura
Waterstone Market Neutral Fund; Prime Capital Master SPC-GOT WAT MAC Segregated
Portfolio; Waterstone Offshore ER Fund, Ltd.; Waterstone Market Neutral MAC 51 Lid;
Waterstone MF Fund, Ltd.; Waterstone Market Neutral Fund, severally, by their attorneys, Ross
& Orenstein LLC, for their collective Complaint against some or all Defendants Jon S. Corzine,
J, Randy MacDonald, Henri J. Steenkamp, David P. Bolger, Eileen S. Fusco, David Gelber,
Martin J. Glynn, Edward L. Goldberg, David 1. Schamis, Robert S. Sloan, Citigroup Global
Markets Inc., Deutsche Bank. Securities Inc., Goldman, Sachs & Co., Jefferies & Company, Inc.,
J.P. Morgan Securities LLC, Merrill Lynch, Pierce, Fenner & Smith Incorporated, RBS
Securities Inc., and Sandler O’Neill + Partners, L.P. (“Defendants”) allege, as more particularly
set forth below:
INTRODUCTION

i, This is a securities fraud case about material misstatements and omissions made
by MF Global Holdings Limited (“MF Global”) and its underwriters in offering documents
provided to purchasers of MF Global debt. MF Global, formerly a leading brokerage firm,
famously collapsed in October 2011 under the weight of risky bets on European sovereign debt.
Acting with intent or recklessness, the underwriter defendants failed to disclose MF Global’s
systemic risks to Plaintiffs. Plaintiffs are purchasers of three series of bonds issued by MF

Global in the months leading up to its collapse: 1.875% Convertible Senior Notes due February
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I, 2016 (the “2016 Notes”), 3.375% Convertible Senior Notes due August 1, 2018 (the “2018
Notes,” and together with the 2016 Notes, the “Convertible Notes”), and 6.25% Senior Notes due
August 8, 2016 (the “Senior Notes,” and together with the Convertible Notes, the “Notes”).
Plaintiffs purchased, in aggregate, more than $100 million face of the Notes.

2, Plaintiffs were induced to invest in MF Global based on misrepresentations and
omissions about MF Global’s financial state and profitability, its internal risk controls, and the
scope and nature of its exposure to European sovereign debt that permeated its disclosures. This
action seeks to hold MF Global’s directors, officers, and underwriters accountable for these
misrepresentations and omissions, as provided for in the Securities Act of 1933 (the “°33 Act” or
“Securities Act’). Each of the defendants was responsible for performing due diligence to
ensure that the Notes’ offering materials were accurate, and they failed to engage in basic due
diligence that would have revealed that MF Global’s offering materials misstated its financial
state, its internal risk controls, and its exposure to European sovereign debt.

3. When the truth was revealed about MF Global, the company collapsed and
Plaintiffs suffered millions of dollars in damages. As the U.S. House Financial Services
Committee’s Subcommittee on Oversight & Investigations concluded in a Staff Report dated
November 15, 2012 (the “House Subcommittee Report”):

Had MF Global been more forthright about the size of its European bond portfolio

as it amassed those positions, . . . [iJnvestors . . . could have decided for

themselves whether the company’s investments were sound. MF Global’s failure

to be fully transparent about the size of its European bond portfolio denied

regulators and the public the opportunity to inform themselves about the extent of

ME Global’s European RTM _ [repo-to-maturity] trades and to respond

accordingly. As a result, the company’s investors, customers and counterparties

were stunned when the Wall Street Journal reported the size of the company’s

European bond portfolio in October 2011, The ensuing panic precipitated the
company’s rapid collapse.
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PARTIES
Plaintiffs

4, Plaintiffs AG Oncon, LLC and AG Ofcon, Ltd. (together, the “AG Plaintiffs”) are
managed by Angelo Gordon & Co., an investment advisor and their principal place of business is
in New York City. The AG Plaintiffs each purchased $1 million or more publicly registered
notes issued by MF Global in 2011 prior to October 31, 2011,

5. Plaintiffs AQR Absolute Return Master Account, L.P.; AQR DELTA Master
Account, L.P.; AOR Delta Sapphire Fund, L.P.; AQR Funds—-AQR Diversified Arbitrage Fund;
AQR Opportunistic Premium Offshore Fund L.P.; AQR UCTTS Funds; CNH CA Master
Account, L.P.; and CNH Diversified Opportunities Master Account, L.P. (collectively the “AQR
Funds”) are managed by AQR Capital Management, LP an investment advisor and their
principal place of business is in Greenwich, Connecticut. The AQR Funds collectively
purchased $1 million or more publicly registered notes issued by MF Global in 201] prior to
October 31, 2011.

6, Plaintiff Lazard Asset Management LLC (“LAM”) brings this action on behalf of
clients (collectively the “Lazard Clients”) from whom it has received valid assignments and
which it manages in its principal place of business in New York City. Plaintiff Lazard Rathmore
Master Fund, L.P. (the “LAM Fund”) is a fund managed by LAM. Plainilf HFR CA Lazard
Rathmore Master Trust (“HFR”) is a Bermuda unit trust whose investments are managed by
LAM. LAM, the Lazard Clients, the LAM Fund, and HFR are collectively referred to herein as
“T azard.” Lazard collectively purchased $1 million or more publicly registered notes issued by

MF Global in 2011 prior to October 31, 2011.
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7. Plaintiffs Lord Abbett Investment Trust — Lord Abbett Convertible Fund and
Vermont Mutual Insurance Company (collectively the “Lord Abbett Funds”) are managed by
Lord, Abbett & Co. LLC, an investment advisor and their principal place of business is in Jersey
City, New Jersey. The Lord Abbett Funds collectively purchased $1 million or more publicly
registered notes issued by MF Global in 2011 prior to October 31, 2011.

8, Plaintiffs Suttonbrook Capital Portfolio LP and Suttonbrook Eureka Fund, LP
(collectively the “Suttonbrook Funds”) are managed by Suttonbrook Capital Management, LP,
an investment advisor and their principal place of business is in New York City. The
Suttonbrook Funds collectively purchased $1 million or more publicly registered notes issued by
MF Global in 2011 prior to October 31, 2011.

9, Plaintiffs DBX Convertible Arbitrage 13 Fund; Nomura Waterstone Market
Neutral Fund; Prime Capital Master SPC-GOT WAT MAC Segregated Portfolio; Waterstone
Offshore ER Fund, Ltd.; Waterstone Market Neutral MAC 31 Ltd.; Waterstone MF Fund, Ld.;
and Waterstone Market Neutral Fund (collectively the “Waterstone Funds”) are managed by
Waterstone Capital Management, L.P., an investment advisor and their principal place of
business in Plymouth, Minnesota. The Waterstone Funds collectively purchased $1 million or
more publicly registered notes issued by MF Global in 2011 prior to October 31, 2011,

10, Lazard, the Lord Abbett Funds, and the Waterstone Funds all purchased the 2016
Notes and in that context are referred to collectively herein as the “2016 Note Plaintiffs.” All
Plaintiffs purchased the 2018 Notes and in that context are referred to collectively as the “2018

Note Plaintiffs.”
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Individual Defendants

li. Defendant Jon S. Corzine (“Corzine”) served as Chairman of the MF Global
Board and MF Global’s Chief Executive Officer (“CEO”) from March 23, 2010 until his
resignation on November 4, 2011.

12, Defendant J. Randy MacDonald (“MacDonald”) served as MF Global’s Chief
Financial Officer (“CFO”) from April 2008 through April 2011. MacDonald signed MF
Global’s Post-Effective Amendment No. 1 to Registration Statement No. 333-162119, dated
February 24, 2010 (the “Registration Statement”).

13, Defendant Henri J. Steenkamp (“Steenkamp”) served as MF Global’s CFO
beginning in April 2011, after serving as MF Global’s Chief Accounting Officer. Steenkamp
signed the Registration Statement.

14. Defendants Corzine, MacDonald, and Steenkamp are referred to herein as the
“Officer Defendants.”

15. Defendants David P. Bolger (“Bolger”), Eileen S. Fusco (“Fusco”), David Gelber
(“Gelber”), Martin J. Glynn (“Glynn”), Edward L. Goldberg (“Goldberg”), David i Schamis
(“Schamis”), and Robert S. Sloan (“Sloan”) were members of MF Global’s Board throughout
2011. Defendants Bolger, Fusco, Gelber, Glynn, Goldber, Schamis, and Sloan signed the
Registration Statement.

16, Defendants Bolger, Fusco, Gelber, Glynn, Goldberg, Schamis, and Sloan are
collectively referred to herein as the “Director Defendants.” The Officer Defendants and the
Director Defendants are referred to herein as the “Individual Defendants.”

Underwriter Defendants
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17. Defendant Citigroup Global Markets Inc. (“Citi”) is the brokerage and securities
arm of Citigroup Inc., providing commercial and investment banking services. Citi underwrote
MF Global's public offerings of the Convertible Notes.

18. Defendant Deutsche Bank Securities Inc. (‘DB”) is the U.S. investment banking
and securities arm of Deutsche Bank AG. DB underwrote MF Global’s public offerings of the
Convertible Notes.

19, Defendant Goldman, Sachs & Co. (“Goldman”) is an investment banking,
securities, investment management, and financial services firm. Goldman underwrote MF
Global’s public offerings of the Convertible Notes.

20, Defendants Jefferies & Company, Inc. (“Jefferies”) is an investment banking and
securities firm. Jefferies underwrote MF Global’s public offering of the Senior Notes.

91. Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) is the investment banking
arm of J.P. Morgan Chase & Co., providing investment banking and brokerage services. J.P.
Morgan underwrote MF Global’s public offerings of the Convertible Notes.

29. Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill”) is the
brokerage, investment banking, and wealth management business of Bank of America Corp.
Merrill underwrote MF Global’s public offerings of the Convertible Notes and the Senior Notes.

23, Defendant RBS Securities Inc. (“RBS”) is the U.S.-based investment banking
affiliate of the Royal Bank of Scotland Group ple. RBS underwrote MF Global’s public
offerings of the Convertible Notes.

24. Defendant Sandler O’Neill + Partners, L.P. (“Sandler”) is an investment-banking
firm and broker-dealer, Sandler underwrote MF Global’s public offerings of the 2016 Notes and

Senior Notes,
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25. Defendants Citi, DB, Goldman, J.P. Morgan, Merrill, RBS, and Sandler are
collectively referred to herein as the “Convertible Underwriter Defendants,” and, together with
Jefferies, as the “Underwriter Defendants.” Jefferies, Merrill, and Sandler, are collectively
referred to herein as the “Senior Notes Underwriter Defendants.”

JURISDICTION AND VENUE

26. This Court has jurisdiction over the subject matter of this action under Section 22
of the Securities Act, 15 U.S.C. § 77v, and 28 U.S.C, § 1331, because this is a civil action arisig
under the laws of the United States.

27, Venue is proper in this District under Section 22(a) of the Securities Act, 15
U.S.C. § 77v(a) and 28 U.S.C. § 1391(b), (c) and (d). Many of the acts and transactions that
constitute the alleged violations of law, including the dissemination to the public of untrue
statements of material facts, occurred in this District.

SUBSTANTIVE ALLEGATIONS
MF Global is recked by a 2008 rogue trading incident

28. ME Global originated as the brokerage division of the British fm Man Group
ple, which expanded its brokerage business by purchasing assets left behind when Refco, Inc.
went bankrupt in October 2005, and spun this business off in MF Global’s 2007 initial public
offering (TPO”).

29, In February 2008, shortly after the IRO, MF Global announced that a rogue trader
engaged in unauthorized trades and lost $141 million. This rogue trading incident resulted in MF
Global paying nearly $10.5 million in regulatory fines and forced it to begin a public elfort to
revamp its risk management policies. As a result, MF Global hired two consulting firms to

review its risk management policies and hired Michael Roseman (“Roseman”) as Chief Risk
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Officer (“CRO”) in August 2008 to elevate MF Global’s risk management capabilities and to
implement the recommendations of the two consulting firms.

30. As one might expect, especially given this history, MF Global’s public
disclosures in 2010 and 2011 took pains to portray its risk management policies and procedures
as robust and effective and emphasized the role and authority of its Chief Risk Officer to lead its

risk management efforts.

31. For example, in its Form 10-K filed May 28, 2010 (the “5/28/10 10-K”), MI

Global stated:

We believe that effective risk management is critical to the success of our
business. Consequently, we have established—and continue to evolve and
improve—a global enterprise wide risk management framework to manage all
aspects of our risks. The risk-management framework globally embeds a robust
risk-management environment through a strong governance structure that (i)
clearly defines roles and responsibilities, (ii) delegates authority for risk control
and risk taking to specific individuals, and (iii) documents approved
methodologies for the identification, measurement, control and mitigation of risk.

Our Chief Risk Officer, who reports directly to our Chief Executive Officer,
leads the risk department and monitors and reports on our risk matters. The
Chief Risk Officer promotes company-wide adherence to MF Global's
enterprise risk management framework and has global responsibility for
monitoring and facilitating control of financial, operational and business risks.

Our Chief Risk Officer regularly reports to our Board of Directors. Reports
detail global risk exposures and escalate risks that exceed defined tolerances. The
risk reporting process is designed to enable us to assess the levels of risk present
throughout our operating environment on a near real-time basis and to take any
necessary remedial action in a timely manner.

(emphasis added).

32. In its Definitive Proxy Statement on Form DEF 14A filed June 1, 2010 (the “2010
Proxy’), MF Global stated that:

The Board is responsible for approving the Company’s enterprise risk

management policy, based on a recommendation from the Audit and Risk
Committee, and approving the Company’s risk appetite and limits. The
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Company’s enterprise risk management approach flows from the Board, which
determines the Company’s business strategy and risk appetite, and permeates
through the Company via a culture that expects all employees to function as risk
managers; a strong governance structure that clearly defines responsibilities;
delegated authorities for risk control as well as risk taking; and documented
policies and defined methodologies for risk identification, measurement, control
and mitigation.

(emphasis added}.
33. In MF Global’s Form 10-K filed May 20, 2011 (the “5/20/11 10-K”), it stated:

We believe that effective risk management is critical to the success of our
business and is the responsibility of all of our employees, All of our employees
are risk managers. Employees are expected and encouraged to escalate incidents
and any matters of concern to management and to our compliance and risk
departments in order to effectively manage risk. Consequently, we have
established—and continue to evolve and improve-—-a global enterprise wide risk
management framework that is intended to manage all aspects of our risks. The
risk-management framework is designed to establish a global, robust risk-
management environment through a strong governance structure that (i)
defines roles and responsibilities, (ii) delegates authority for risk control and risk
taking to specific businesses and risk managers, and (ii) documents approved
methodologies for the identification, measurement, control and mitigation of risk.

We seek to identify, assess, measure, monitor and limit market, credit and
operational risks across our businesses. Business areas, pursuant to delegated
authority, have primary responsibilty for risk management by balancing our
ability to profit from our revenue-generating activities with our exposure to
potential losses. Working with the business areas, the Risk department serves as
an advisor and facilitates operation within established risk tolerances while
seeking to provide acceptable risk-adjusted returns in a controlled manner. Risk-
department teams also regularly communicate with our regional officers and to
focal decision-making bodies to allow us to react rapidly to address any
developing risks.

Our Chief Risk Officer, who reports to our President and Chief Operating
Officer, leads the risk department and monitors and reports on our risk matters,
including regular reports to our Board of Directors and Audit and Risk
Committee. The Chief Risk Officer promotes company-wide adherence to MF
Global’s enterprise risk management framework and has global responsibility Sor
monitoring and facilitating control of market, credit and operational risks.

(emphasis added).

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34, In its Definitive Proxy Statement on Form DEF 14A filed Jaly 7, 2011 Ghe “2011
Proxy’), MF Global stated:

The Board has responsibility for providing direction and oversight for

management of the Company’s business and affairs, establishing the Company’s

long-term objectives and strategy while overseeing the Company’s business
performance and management, including risk management. The Company’s
enterprise risk management approach flows from the Board, which determines

the Company’s risk appetite, and permeates through the Company via a culture

that expects all employees to function as risk managers. This approach involves

a strong governance structure that clearly defines responsibilities, delegated

authorities for risk control as well as risk-taking and documented policies

designed to identify, measure, control and mitigate risk.
(emphasis added).
Corzine takes over, and transforms, MF Global

35, On March 23, 2010, MF Global announced that it had hired Corzine, a former
New Jersey Governor, U.S. Senator, and CEO and Chairman of the Goldman Sachs Group, Inc.
(“Goldman Sachs”), as its new CEO and Chairman of the Board.

36. Prior to Corzine’s hiring, MF Global had engaged in Iittle proprietary trading.
Instead, as noted in its Form 10-K for the fiscal year ending March 31, 2009, its revenue came
ptimarily from commission fees for brokerage services and interest income on cash held in
customer accounts, But these traditional sources of MF Global’s revenue were being challenged
by the rise of online brokerages, which offered traders lower commission rates, and the low
interest rates following the 2008 financial crisis.

37. As Corzine testified before the House Agriculture Committee in December 2011,
he led a strategic review of MF Global's business resulting in a “new business plan” under which

“NAF Global would evolve into a broker-dealer, and ultimately into an investment bank.” In other

words, Corzine sought to remake MF Global as a mini version of Goldman Sachs.

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38, A significant part of this transformation was an explosion in MF Global’s
proprietary trading, or trading on its own behalf. In June 2010, a new trading division within MF
Global, the Principal Strategies Group (“PSG”), began proprietary trading activities.
Unbeknownst to the public and MF Global’s investors, Corzine himself was personally engaged
in these proprietary trades, maintaining a personal trading account bearing his initials JSC) to
track proprietary trades that he personally executed or directed others to execute on his behalf.
Corzine bets {he company on European sovereign debt

39, When Corzine took the helm at MF Global, he was faced with the need to
immediately boost its profits in order to maintain investment-grade credit ratings from the ratings
agencies. For example, Moody’s informed MF Global that it would need to generate $200 to
$300 in annual pre-tax profits and reduce its leverage in order to maintain its Baa2 rating. In
addition, Corzine was motivated to boost MF Global’s stock price in order to get his personal
stock options “in the money.”

AQ, Because of this need to boost MF Global’s profits, Corzine decided to trade
heavily in the sovereign debt of economically-distressed European nations through repo-to-
maturity (or “RTM”) transactions. A RTM transaction is a type of repurchase or “repo”
transaction-~a transaction where one firm sells a security to another firm with an agreement to
repurchase the security on a specified date—-where the transaction terminates on the maturity
date of the security.

4], By structuring its European sovereign debt trades as RTM transactions, MF
Global was able to account for trades as if they were sales, and immediately book profits at the

time of the initial trade. In addition, the RTM transactions are “de-recognized,” meaning the

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trades do not appear on the company’s balance sheet and the underlying security is not accounted
for in any value-at-risk (“VAR”) calculations—a standard risk-management metric.

42. In these MF Global European sovereign debt RTM transactions, sovereign debt
securities purchased by MF Global Inc. (“MFGI”), the North American broker-dealer subsidiary
of MF Global, was repoed back to a U.K.-based MF Global subsidiary, MF Global U.K. Limited
(“MEG-UK”), MFG-UK then entered into a corresponding repo transaction with LCH.Clearnet
(formerly known as the London Clearing House) (“LCH”). This repo transaction between MFG-
UK. and LCH was for a term two days shorter than the maturity date of the underlying bonds,
however, meaning that more cash was needed by MF Global to maintain the RTM portfolio.

43, Even though these RTM transactions were derecognized and thus not part of MF
Global’s balance sheet or VAR calculations, MF Global retained significant risks. As Corzine
himself explained in his testimony before the House Agriculture Committee, MF Global retained
two significant types of risk:

a. Default risk: “MF Global retained . . . the risk that the debt securities
might default or be restructured” in which case “MF Global would not be paid in
full at maturity” but “would still have the obligation to buy back the debt security
from the Counterparty in fulf’ and

b. Liquidity risk: MF Global retained the risk that “the clearing house . . .
could demand that MF Global increase its margin” either because “it determined
ME Global was not credit-worthy” or “that the underlying debt security... .
decreased in value.”

44, MF Global frequently relied on these RTM trades in order to make it appear that

the company was meeting its quarterly revenue goals. Near the end of several quarters in 2010

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and 2011, Corzine would place RTM trades in order to generate revenue, requesting calculations

from the company’s financial personnel regarding the level of RTM trades necessary to allow the

company to report that it had reached its earnings targets.

45.

In 2010 and 2011, MF Global’s European sovereign debt investments ballooned.
a. In ME Global’s Form 10-Q filed February 3, 2011 (the “2/3/11 10-Q”), it
disclosed that, as of December 31, 2010, it owned $1.5 billion in “Foreign
government bonds” without stating which foreign governments issued those
bonds, and it “derecognized” $7.6 billion in “securities sold under agreements to
repurchase” without disclosing how much of that total related to European
sovereign debt. Subsequent filings included more detail, and showed a dramatic
rise in the amount of MF Global’s European sovereign debt exposure.

b. MF Global’s Form 10-K filed May 20, 2011 (the “5/20/11 10-K”)
disclosed “other sovereign obligations ... issued by a group of Western European
countries, consisting of Italy, Spain, Belgium, Portugal, and Ireland” with a
“notional value of the issuer risk .. . net of hedging transactions” of $6.3 billion
as of March 31, 2011. The 5/20/11 10-K also discloses that on March 31, 2011,
“securities sold under agreements to repurchase of $14,520,341[,000], at contract
value, were de-recognized, of which 52.6% were collateralized with European
sovereign debt.” In other words, as of March 31, 2011, $7.6 billion in European
sovereign debt RTM transactions (52.6% of $14.52 billion) were removed from
MF Global’s balance sheet and VAR calculations.

c. MF Global’s Form i0-Q filed August 3, 2011 (the “8/3/11 10-Q”)

disclosed that the notional value “net of hedging transactions” of its holdings of
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“other sovereign obligations,” again consisting of “sovereign obligations . . .
issued by a group of Western European countries, consisting of Italy, Spain,
Belgium, Portugal, and treland” was $6.4 billion as of June 30, 2011. The 8/3/11
10-Q also discloses that on June 30, 2031, “securities sold under agreements to
repurchase of $16,548,450{,000] . . ., at contract value, were derecognized, of
which 69.3% .. . were collateralized with European sovereign debt, consisting of
Italy, Spain, Belgium, Portugal and ireland.” In other words, as of June 30, 2011,
$11.5 billion in European sovereign debt transactions (69.3% of $16.55 billion)
were removed from MF Global’s balance sheet and VAR calculations, a 50%
increase from the $7.6 billion at the end of the prior quarter.
ME Global ignores and fails to disclose repeated risk management concerns and failures
46. As Corzine took over MF Global and increased its proprietary trading, its risk
management systems failed to keep up. Throughout 2010 and 2011, significant gaps in the risk
management system were brought to the attention of the MF Giobal Board but were not
addressed, and its European sovereign debt trading, under the direction of Corzine, repeatedly
breached the limits set by the Board. Even more fundamentally, MF Global’s entire risk
management system was upside-down and contrary to its public representations—the chief trader
in charge of its most risky strategy was not someone who the Chief Risk Officer could oversee, it
was in fact the CEO and Chairman of the company, Jon Corzine himself. None of these facts
were disclosed to MF Global’s investors, including Plaintiffs, until it was too late.
47, James Giddens, the Trustee for the liquidation of MFGI under the Securities
Investor Protection Act, detailed many of these risk management failures in a June 4, 2012

investigation report (the “Giddens Report”). Specifically, the Giddens Report details a

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presentation to MF Global’s Board in April 2010 detailing “dozens of gaps in policies,
procedures and technologies . . . in the various risk areas” and a “follow up report to the Board in
October 20106 [that] continued to reflect many critical or high risk gaps in risk policies.”
48. The Giddens Report also details several internal audit reviews that also raised
concerns that were not addressed and contributed to MF Global’s collapse:
a. “A Corporate Governance internal audit issued in May 2010 identified MF
Global’s risk policies as not congruent with the changes to its broker-dealer
business. Among the specific gaps identified by Internal Audit was liquidity risk
reporting.”
b. “fAln Internal Audit report on Market and Credit Risk Management in
October 2010 identified “High Risk” areas arising from the lack of controls over
risk reporting. The report also reiterated that market risk policies had not been
updated to reflect the current operating environment. The report attributed the
failures 10 remediate gaps to staffing and budget constraints.”
c. “(DJuring 2011, Internal Audit expressed concern that the absence of
reliable liquidity reporting tools and dependence on Ms. O’Brien’s [Edith
O’Brien, the Assistant Treasurer] comprehensive knowledge of liquidity issues
might represent a ‘key man risk,’ because the processes supporting the
composition of the liquidity forecast were not documented and were mainly based
on Ms. O’Brien’s expertise and experience.”
d, An Internal Audit investigation regarding US financial regulatory
reporting conducted in the Fall of 2010 raised concerns, as detailed in a final

report dated March 31, 2011 which stated that “in a variety of instances, the

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controls are not in place and not all aspects of these controls are documented as
evidence that they have been performed.”

49, More significantly, the role of Defendant Corzine in the everyday trading
decisions relating to MF Global’s enormous bet on European sovereign debt made meaningful
risk management and oversight impossible. In 2016 and 2011, Corzine repeatedly breached the
trading limits set by the board, brushed aside concerns expressed by MF Global’s Chief Risk
Officer and then replaced him, and even threatened to quit if the Board did not accede to his
repeated demands to raise the European sovereign debt trading limits. For example:

a. In March 2010, when Corzine joined the company, MF Global’s European
sovereign debt limits was less than $500 million. Within a few months, by June or
July 2010, Corzine and others sought to increase the trading limits, and MF
Global’s CRO at the time, Roseman agreed to raise the limits to $1 billion.

b, By mid-September 2010, this limit had already been exceeded, and after
exceeding the limit, Corzine sought an increase in the limit to $1.5 billion.
Roseman, according to his testimony before a House subcommittee, expressed to
Corzine his “increasing concerns” about “the potential capital risk” and “began to
express caution on the growing liquidity risk.”

c. But these limits were again exceeded, and, according to the Giddens
Report, “on September 22, 2010, in response to Mr. Corzine’s request, the
Executive Committee of the Board of Directors approved an increase in the limit
to $4.0 billion. Less than two months later fin November 2010], Mr. Corzine
requested and the Board approved another increase, to $4.75 billion.” By this

point, Roseman testified that he was growing more concerned both about the

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“capital risk” associated with MF Global’s growing position as well as “the
liquidity risk relative to the risk appetite.” While presenting Corzine’s November
2010 request to the Board, Roseman also presented “a detailed analysis of the
potential liquidity risk stress scenarios” and “an analysis on the CDS market”
while “highlight{ing] the significant capital risk given the sovereign default risk
associated with the unresolved financial issues in Europe.” The Board’s approval
of this $4.75 billion limit in November 2010 was conditioned on a reevaluation of
those limits in early 2011.

d. Even though Corzine succeeded in increasing the European sovereign debt
trading limits by 950% in 2010 — from $500 million to $4.75 billion — over the
objections of Roseman, he was not satisfied with this limit or with Roseman’s
continued warnings. In November 2010, Corzine informed Roseman that he
would no longer report directly to the Board, but would report instead to Bradley
Abelow, MF’s Chief Operating Officer. Abelow had previously worked with
Corzine at Goldman and served as Corzine’s chief of staff when he was Governor
of New Jersey.

e. In January 2010, Roseman was terminated as CRO, and replaced with
Michael Stockman (“Stockman”), who did not have the necessary experience
regarding global debt trading or liquidity analysis. According to multiple news
reports following MF Global’s bankruptcy and two senior MF Global executives
quoted in the Consolidated Amended Securities Class Action Complaint in in re
MF Global Holdings Limited Securities Litigation (the “Securities Class Action

Complaint”), Roseman was fired and replaced with Stockman because Corzine

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disagreed with Stockman’s warnings about the risks of MF Global’s increasing
European sovereign debt exposure. Although MF Global disclosed in its 2/3/11
10-Q that Roseman “received notice from us on January 31, 2011 that his
employment will end on April 1, 2011,” it never disclosed Roseman’s warnings,
or that they were the cause of his termination. Stockman also reported to Abelow
rather than the Board.

£ In January 2011, according to the Giddens Report, the MF Global Board
directed that the “European sovereign debt portfolio would run down as planned
with no additional positions placed unless Mr. Corzine obtained further approval
from the Board of Directors.” But Corzine did not follow this directive, and
instead increased MF Global’s European sovereign debt exposure. The Board’s
debt limits were exceeded on February 3, 2011, but the Board was not informed.
Although Corzine wanted an even larger increase in the limits, risk personnel
persuaded him that an increase to $§ billion was “big enough.” In March 2011,
Stockman prepared a request to the Board to raise the debt limits to $5 billion,
with a temporary limit of $5.8 billion to expire at the end of March, and the Board
approved these requests.

g. As the end of March 2011 approached, Corzine directed Stockman to
request that the Board increase the limit to $6 billion, Instead, the Board extended
the temporary $5.8 billion limit until September 2011. But Corzine continued to
resist any oversight of his trading, and had breached these limits within a month,

according to the Giddens Report (citing to an April 27 sovereign debt portfolio

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50.

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report). After conferring with Corzine, Stockman commented to other risk
personnel, “Good news is he is now aware of gross limits, agrees with concept...”
h. In early June 2011, Corzine again requested an increase in the limits, this
time to $9.75 billion. The Board agreed to raise the limit to $6.6 billion. But by
July 2011, even Stockman was becoming concerned about MF Global’s sovereign
debt exposure. Stockman called two meetings in July 2011 to discuss a number of
risks associated with MF Global’s RTM trades, and told Corzine in a July 30,
2011 email that “I am not currently supportive of buying more sovereigns”
because he was concerned about margin calls “in light and heavier stress
scenarios.”

i. Throughout this entire process, Corzine abused his position as CEO to
increase MF Global’s European sovereign debt exposure and short-circuit any
meaningful risk management or oversight. On at least two occasions, Corzine
threatened to resign if his request to raise the limits on European sovereign debt
was not granted. Concerns about Corzine’s role were raised internally
immediately when he first indicated he wanted to personally place trades, as
FINRA rules and MF Global’s internal policies required supervision of trades by
senior officers, but there was no MF Global officer senior to Corzine. According
to the Giddens Report, “[a] compromise was reached pursuant to which, inter
alia, a subcommittee of the Board reviewed both the trades by Mr. Corzine
himself and those he placed through others.” Neither these concerns, nor the
compromise reached, were disclosed to investors.

Reviewing these facts, the House Subcommittee Report concluded:

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These risks [associated with MF’s European sovereign debt exposure] were
compounded by the atmosphere that Corzine created at MF Global, in which no
one could challenge his decisions. He hired his former gubernatorial chief of
staff, Bradley Abelow, to serve as the company’s COO. When Michael Roseman,
the company’s CRO, disagreed with Corzine about the size of the company’s
European bond portfolio, Corzine directed Roseman to report to Abelow rather
than to MF Global’s board of directors. This change effectively sidelined the most
senior individual charged with monitoring the company’s risks and deprived the
board of an independent assessment of the risks that Corzine’s European RT M.
trades posed to MF Global, its shareholders, and its customers. Additionally, by
acting as the de facto chief trader for the company, Corzine insulated his
trading activities from the company’s normal risk management review process.
He negotiated the size of the company’s European bond portfolio solely with MF
Global’s board of directors, which he chaired. Consequently, Corzine quickly
built the company’s European bond portfolio well in excess of prudent limits
without effective resistance, .

(emphasis added).

51, Thus, while claiming to have a robust risk management system, MF Global failed

to disclose at least the following material facts until it was too late:

The repeated significant breakdowns in its risk management system,
lis CEO’s role as its chief trader, rendering meaningful risk management impossible;

The concerns raised by its CRO about its sovereign debt trading strategy; and

The fact that its CRO was terminated because he raised concerns about its exploding

European sovereign debt exposure.

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ME Global materially overstates its Deferred Tax Assets.

52. Deferred Tax Assets are losses, credits, or tax deductions that may be used to
offset taxable income in future years. Because Deferred Tax Assets could be used in the future to
offset taxable income and thus reduce a company’s taxes, they can only be recorded under
Generally Accepted Accounting Principles (“GAAP”) if it is “more likely than not” that they will
be realized in the future.

53, In 2010 and 2011, MF Global’s financial statements, which it always attested
were prepared in accordance with GAAP, reflected significant Deferred Tax Assets that could
not be justified under GAAP because MF Global had been suffering cumulative losses for
several years and had no reasonable expectation of profitability in the near future.

54, Under applicable GAAP rules, a cumulative pre-tax loss for the preceding three
years is considered “significant negative evidence” that must be counteracted with specific and
reliable positive evidence before Deferred Tax Assets can be fully recorded.

55. Based on GAAP accounting, by no later than May 20, 2010, when MF Global
announced its financial results for the fiscal year ending March 31, 2010, it should have recorded
a valuation allowance against its U.S. Deferred Tax Assets because it was operating at a three-
year cumulative loss as of March 31, 2010 and it did not have sufficient evidence to counteract
that negative evidence.

56. Specifically, a major cause of MF Global’s lack of profitability was the low
interest rate environment. As noted in the Gibbons Report, “MF Global had historically
generated a substantial portion of its income from interest generated from repurchase
agreements, government securities . . ., and failed transaction fees,” and as a result of the Federal

Reserve’s decision to cut the Federal Funds rate to “essentially zero following the financial crisis

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in the fall of 2008,” ME Global saw a “dramatic decline in [its] interest income.” MF Global
understood that this low interest rate environment was almost certain to continue for the near-
future.

57. In its 5/28/10 [0-K, MF Global did not even mention its cumulative losses, or
give any justification for its accounting treatment of its Deferred Tax Assets. In its 5/20/1] 10-K,
MEF Global finally acknowledged that “[t]he Company is in a three-year cumulative pre-tax loss
position at March 31, 2011 in many jurisdictions in which it does business,” but did not specify
that the United States was one of those jurisdictions, even though the bulk of MF Global's
revenues were generated in the U.S. and the bulk of its claimed Deferred Tax Assets were
located in the United States.

58. Although MF Global conceded that this “cumulative loss position is considered
negative evidence in assessing the realizability of deferred tax assets,” it “concluded that the
weight given this negative evidence is diminished due to significant non-recurring loss and
expense items recognized during the prior three years,” and “there is sufficient positive evidence
to overcome this negative evidence.” This positive evidence consisted of “three means by which
we are fully able to realize our deferred tax assets”: (1) “the reversal of existing taxable
temporary differences,” (2) “future projections of income;” and (3) “a sufficient tax planning
strategy.”

59. | ME Global offered no explanation for what it meant by “the reversal of existing
taxable temporary differences,” and the other two types of asserted positive evidence were, in
fact, lacking any reasonable basis, because:

a, Projections are generally not sufficient under GAAP to overcome the

negative evidence of cumulative losses in recent years. in MF Global’s case, it

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was attempting 1o transform its business into an investment bank, and the only
revenue source it had actually recognized was its new trading business led by
Corzine. But the short-term trading revenues that MF Global had realized were
unreliable and unsustainable as they only generated additional revenues if MF
Global was willing to continually increase its European sovereign debt exposure.
b. Although MF Global claimed that its revenue projections were also
reliable based on “significant changes” to its compensation structure, MF Global
never actually implemented these supposed changes, and they were too unsettled
in early 2011 to provide sufficient positive evidence to overcome the negative
evidence provided by MF Global’s cumulative pre-tax losses.

c. ME Global did not apparently have any independent “tax planning
strategy” other than its forecasts that it would return to profitability. As MF
Global conceded, “[t]he amount of the deferred tax asset considered realizable,
however, could be significantly reduced in the near term if our actual results are
significantly less than forecast.”

60. In fact, on October 25, 2011, MF Global admitted for the first time that it was
required to write down a significant amount of its Deferred Tax Assets. On that day, it
announced a $191.6 million quarterly loss. Over half of that loss was caused by “valuation
allowances against deferred tax assets of $119.4 million.” Within a week, MF Global filed for
bankruptcy.

ME Global engages in a “shell game” of internal transfers to conceal its liquidity crisis.

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61. As MF Global dramatically increased its European sovereign debt exposure, its
liquidity position became more and more precarious, as the demands for margin funding
increased and the company was forced to find new ways to satisfy margin demands.

62. Beginning in late May 2011, Corzine directed MF Global traders to begin
entering into short RTM positions in order to free up liquidity. But these short RTM positions
posed another potential liquidity threat, because they had a shorter duration than the offsetting
long positions and therefore, when they matured, they would no longer offset the long positions.

63. In addition, MF Global concealed its liquidity problems through a shell game of
internal transfers that began at least in late 2010 and escalated throughout 2011 until MF
Global’s eventual collapse.

64, According to the Giddens Report, “for at least a year prior to [October 31, 2011],
the FCM |MF Global’s Chicago-based futures commodity merchant business] had provided
intraday transfers to Operations in New York,” which were “typically repaid intraday but some
transferred amounts remained in securities accounts overnight or longer.” These transfers caused
concerns within MF Global, as “[i]Jndividuals in Chicago were increasingly frustrated that that
FCM was being used to fund the non-FCM business.”

65, This cash situation grew so dire in the summer of 2011 that Edith ©’ Brien, the
Chicago-based Assistant Treasurer of MF Global, stated in an August !1, 2011 email that she
needed “to spend hours every day shuffling cash and loans from entity to entity,” which she
described as a “shell game.”

66. According to the Giddens Report, in July 2011, Steenkamp, the MF Global CFO,
asked Christine Serwinski (“Serwinski”), the North American CFO of MFGI, to “consider

whether $250 million in funds could be ‘loaned’ overnight from the FCM to Operations in New

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York.” Serwinski expressed her concern in a July 19 email that it sounded like “the customer
funds not required from a secured regulatory computation would be tapped into.”

67. The Giddens Report also states that “during the summer of 2011, the intraday
transfers that had commenced the year before became a daily occurrence. In addition to the
intraday transfers, there were other transfers from the FCM that were kept overnight or longer.”

68. Ultimately, this “shell game” grew over the summer and fall of 2011 until the
music stopped in October and November, when it was discovered that the FCM business was
missing a shocking $1.2 billion in customer funds.

MEF Global’s materially misleading bond offerings.
1. The 2016 Notes

69. On February 11, 2011, MF Global completed a $287.5 million offering of the
2016 Notes (the “2016 Notes Offering”). The 2016 Notes Offering was conducted pursuant to
the Registration Statement, as well as a Preliminary Prospectus Supplement and Pricing Term
Sheet dated February 7, 2011, and a Final Prospectus Supplement dated February 7, 2011
(collectively, the “2016 Notes Offering Materials”).

70, The 2016 Notes Offering was underwritten by Goldman, Citi, DB, Merrill, J.P.
Morgan, RBS and Sandler. These Underwriter Defendants were “underwriters,” as defined in
Section 2(11) of the Securities Act, of the 2016 Notes Offering.

71, The Registration Statement was signed by Defendants MacDonald, Steenkamp,
Bolger, Fusco, Gelber, Glynn, Goldberg, Schamis and Sloan, Defendant Corzine was a director
of MF Global at the times of the filing of the documents incorporated by reference in the 2016

Notes Offering Materials.

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72. The 2016 Notes Offering Materials specifically incorporated by reference the
5/28/10 10-K, the 2010 Proxy, and the 2/3/11 10-Q.

73, These documents, by which the 2016 Note Plaintiffs were induced to purchase the
2016 Notes, contained at least the following untrue statements or omissions of material fact:

¢ Risk management: Making representations about MF Global’s allegedly effective risk
management system without disclosing (1) multiple known breakdowns of that system,
including repeated breaches of the trading limits; (2) Corzine’s personal trading activity
compromising the effectiveness of that system; (3) the fact that its CRO had raised
concerns about the wisdom of its risky trading strategy, and (4) the fact that Stockman
was terminated as CRO for raising these concerns.

¢ Scope of its European sovereign debt exposure: The only disclosure in the 2016 Notes
Offering Materials about MF Global’s European sovereign debt trading strategy was its
statement in the 2/3/11 10-Q that, as of December 31, 2010, it owned $1.5 billion in
“Foreign government bonds” and it “derecognized” $7.6 billion in “securities sold under
agreements to repurchase” without disclosing how much of that total related to European
sovereign debt. In fact, by the time of 2016 Notes Offering in February 2011, the Board’s
trading limit of $4.75 billion in European sovereign debt exposure had been exceeded on
February 3, 2011, according to the Giddens Report.

* Deferred Tax Assets: Although MF Global consistently represented that its financial
statements were prepared in accordance with GAAP, the financial statements
incorporated into the 2016 Notes Offering Materials improperly included over $100
million in Deferred Tax Assets, which MF Global should have written down based on

GAAP requirements.

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e Liquidity: MF Global did not disclose its growing liquidity problems, and instead began
regular intra-company transfers in late 2010 to conceal those concerns,
2. The 2018 Notes and the Senior Notes

74, On July 28, 2011, MF Global issued approximately $325 million of the 2018
Notes (the “2018 Notes Offering”). The 2018 Notes Offering was conducted pursuant to the
Registration Statement, as well as a Preliminary Prospectus Supplement and Pricing Term Sheet
dated July 28, 2011, and a Final Prospectus Supplement, dated August 1, 2011 (collectively, the
“9018 Notes Offering Materials”).

75, The 2018 Notes Offering was underwritten by Goldman, Citigroup, Merrill, J.P.
Morgan, Deutsche Bank and RBS. These Underwriter Defendants were “underwriters,” as
defined in Section 2(11) of the Securities Act, of the 2018 Notes Offering.

76. On August 3, 2011, MF Global issued approximately $325 million of the Senior
Notes (the “Senior Notes Offering”). The Senior Notes Offering was conducted pursuant to the
Registration Statement, as well as a Prospectus Supplement and Free Writing Prospectus dated
August 3, 2011 (collectively, the “Senior Notes Offering Materials,” and together with the 2016
Notes Offering Materials and the 2018 Notes Offering Materials, the “Offering Materials”).

77. The Senior Notes Offering was underwritten, inter alia, by the Senior Notes
Underwriter Defendants. These Underwriter Defendants were “underwriters,” as defined in
Section 2(11) of the Securities Act, of the Senior Notes Offering.

78. The Registration Statement was signed by Defendants MacDonald, Steenkamp,
Bolger, Fusco, Gelber, Glynn, Goldberg, Schamis and Sloan. Defendant Corzine was a director
of MF Global! at the times of the filing of the documents incorporated by reference in the 2018

Notes Offering Materials and the Senior Notes Offering Materials.

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79. The 2018 Notes Offering Materials and Senior Notes Offering Materials

specifically incorporated by reference the 5/20/11 10-K and the 2011 Proxy. The Senior Notes

Offering Materials also incorporated by reference the 8/3/11 10-Q.

80. These documents, by which the 2018 Note Plaintiffs were induced to purchase the

2018 Notes and Waterstone Funds were induced to purchase the Senior Notes, contained at least

the following untrue statements or omissions of material fact:

Risk management: Making representations about MF Global's allegedly effective risk
management system without disclosing (1) multiple known breakdowns of that system,
including repeated breaches of the trading limits; (2) Corzine’s personal trading activity
compromising the effectiveness of that system; (3) the fact that its CRO had raised
concerns about the wisdom of its risky trading strategy, and (4) the fact that Stockman
was terminated as CRO for raising these concerns.

Scope of its European sovereign debt exposure: The most recent disclosure in the 2018
Notes Offering Materials about MF Global’s European sovereign debt trading exposure
was that it held “other sovereign obligations . . . issued by a group of Western European
countries, consisting of Italy, Spain, Belgium, Portugal, and Ireland” with a “notional
value of the issuer risk . . . net of hedging transactions” of $6.3 billion as of March 31,
3011 and that on March 31, 2011, “securities sold under agreements to repurchase of
$14,520,341[,000], at contract value, were de-recognized, of which 52.6% were
collateralized with European sovereign debt,” meaning that $7.6 billion in European
sovereign debt RTM transactions (52.6% of $14.52 billion} were removed from MF
Global’s balance sheet and VAR calculations. Only two days after the closing of the

2018 Notes Offering, MF Global issued the 8/3/11 10-Q which disclosed that $11.5

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billion in European sovereign debt transactions were removed from MF Global’s balance
sheet and VAR calculations, a 50% increase from the $7.6 billion at the end of the prior
quarter.

e Deferred Tax Assets: Although MF Global consistently represented that its financial
statements were prepared in accordance with GAAP, the financial statements
incorporated into the 2018 Notes Offering Materials improperly included over $100
million in Deferred Tax Assets, which MF Global should have written down based on
GAAP requirements.

¢ Liquidity: MF Global did not disclose its growing liquidity problems, and instead began
regular intra-company transfers in late 2010 to conceal those concerns, with those
transfers escalating through the summer of 2011.

Defendants’ failure to perform the required due diligence

81. Defendants did not make a reasonable investigation or possess reasonable grounds
to believe that the statements contained in the Offering Materials were accurate and complete
and not misstated in any material respects.

82. The Securities Act places the burden of due diligence in a securities offering on
the underwriters and the issuer’s directors and officers, because of their superior expertise and
access to the issuer’s financial information. In performing this due diligence obligation, an
underwriter must play a devil’s advocate role and conduct a meaningful investigation, rather than
simply relying on management’s explanations of a company’s affairs. At a minimum, this due
diligence process must include:

e a thorough review of all available financial data, including an examination of the issuer’s

audits and communication from the company’s auditor;

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* acritical “line-by-line” review of the offering materials, including financial statements
and other SEC filings incorporated therein,

* interviews of upper and mid-level management,

* reviews of the company’s internal controls and risk management procedures;

* reviews of any non-public internal documents concerning the issuer's financial state or
internal controls and risk management procedures.

83, If the Defendants had performed the due diligence required of them, they would
have discovered that MF Global’s Offering Materials were false and misleading in several
material respects, as alleged herein. For example:

¢ if Defendants had critically reviewed MF Global’s internal documents and conducted
management interviews, they certainly would have discovered that the Offering Materials
painted a false and misleading picture about MF Global’s failing risk management
system, beginning with the fact that the CEO was functioning as the chief trader, without
any effective risk management controls;

© acritical review of internal documents and critical examination of MF Global’s financial
statements would have revealed that MF Global was not adequately and truthfully
disclosing its exposure to European sovereign debt;

«a critical examination of MF Global’s accounting would have revealed that it had no
reasonable basis for its claimed Deferred Tax Assets; and

© acritical review of internal documents and management interviews would have revealed
that MF Global was suffering from significant and materia! liquidity challenges that were

not disclosed in the Offering Materials.

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ME Global’s collapse

84. Following MF Global’s filing of the 5/20/11 10-K, FINRA became concerned
about the scope of its European sovereign debt RTM transactions, and began to investigate
whether MF Global was properly meeting its net capital requirements. FINRA’s ultimate
conclusion was that MF Global needed to reserve significant additional capital to offset the risks _
posed by the RTM transactions.

85. MF Global commenced an intense lobbying effort in Washington to resist
FINRA’s proposed additional capital reserve, including at least one in-person meeting between
Corzine the SEC on or about August 15, 2011, But MF Global’s lobbying efforts failed, and on
August 24, 2011, FINRA informed MF Global that it was required to take a $257 million charge
on its European sovereign debt RTM transactions. On September 1, 2011, MF Global filed a
Form 10-Q/A disclosing this required change in the net capital treatment of its RTM
transactions.

86. Although this 10-Q/A stated that MF Global “does not believe that the increase in
net capital will have a material adverse impact on its business, liquidity or strategic plans,” in
fact this change exacerbated MF Global’s already dire (but undisclosed) liquidity crisis.

87. In addition, FINRA required MF Global to make additional public disclosures
about its European sovereign debt exposure. These additional disclosures were made on October
25, 2011, when ME Global announced its quarterly financial results.

88. On October 25, 2011, as noted above, MF Global announced a quarterly loss of
$191.6 million, over half of which was the result of its belated write-down of $119.4 million of

its claimed Deferred Tax Assets. These announcements were met with a swift negative reaction

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from the financial markets, analysts, and ratings agencies, and by October 31, 2011, MF Global

had filed for bankruptcy.

89.

The House Subcommittee Report makes clear the connection between discovery

of the fraud perpetrated by Defendants and the ultimate collapse of MF Global:

Rather than hold the European bonds on MF Global’s books, which could expose
the company to earnings volatility, Corzine chose to use these bonds as collateral
in European RTM trades, permitting the company to book quick profits and
“derecognize” the bonds from its balance sheet. As a result, MF Global did not
initially disclose the full extent of its holdings in discussions with FINRA or in
its public SEC filings, which meant that regulators and the investing public
were not aware of all of the risks facing the company. By October 2011, MF
Global had accumulated considerable exposure to European debt. The company’s
net European RTM portfolio was $6.3 billion, which amounted to 14 percent of
ME Global’s total assets and was orders of magnitude greater than the relative
exposure of its larger competitors. The revelation of the surprising size of the
company’s portfolio, coupled with poor earnings news, prompted the credit
rating agencies to downgrade the company’s rating to junk status and set off a
“pun on the bank” by MF Global’s investors, customers, counterparties, creating
extraordinary dernands upon the company’s capital and liquidity reserves.

(emphasis added).

COUNT I
Section 11 of the °33 Act
On behalf of all 2016 Note Plaintiffs
Against all Underwriter Defendants

90.

herein.

91.

The preceding paragraphs of the Complaint are incorporated as if stated fully

Underwriter Defendants Citi, DB, Goldman, Merrill, J.P. Morgan, RBS and

Sandler underwrote the 2016 Notes Offering.

92.

As set forth above, the 2016 Notes Offering Materials contained untrue statements

of material fact, including the financial statements and internal controls of MF Global. In

addition, the 2016 Notes Offering Materials omitted to state other facts required to be stated

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therein or necessary to make the statements therein not misleading, including MF Global’s
violations of GAAP and internal control deficiencies. The misstated and omitted facts would
have been material to a reasonable person reviewing the 2016 Notes Offering Materials.

93. The Underwriter Defendants owed to the 2016 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2016 Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

94. The Underwriter Defendants did not make a reasonable and diligent investigation
of the statements contained or incorporated by reference in the 2016 Notes Offering Materials,
and did not possess reasonable grounds for believing that the 2016 Notes Offering Materials did
not contain an untrue statement or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading.

95, The Underwriter Defendants did not conduct a reasonable investigation of the
statements contained in and incorporated by reference in the 2016 Notes Offering Materials and
did not possess reasonable grounds for believing that the statements therein were true and not
materially misstated. In particular, the Underwriter Defendants did not conduct a reasonable
investigation into the accuracy of the statements regarding MF Global's reported Deferred Tax.
Assets, financial performance, operations or internal controls. The Underwriter Defendants could
not simply rely on the work of MF Global’s auditor because the investing public relies on the
underwriters to obtain and verify relevant information and then make sure that important facts
are accurately disclosed. Thus, the Underwriter Defendants must conduct their own, independent

and reasonable investigation info the accuracy of the Company’s financial statements,

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assessments of internal controls, and other disclosures, and they were negligent in failing to do
so sufficiently in connection with the 2016 Notes Offering.

96. The 2016 Note Plaintiffs purchased the 2016 Notes issued pursuant or traceable to
the 2016 Notes Offering Materials, and were damaged thereby.

97. The 2016 Note Plaintiffs did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the 2016 Notes Offering Materials when they purchased or acquired their securities.

98. Therefore, the Underwriter Defendants are lable to the 2016 Note Plaintiffs for
violations of Section 11 of the ‘33 Act.

COUNT H
Section 11 of the °33 Act
On behalf of the Lord Abbett Plaintiffs and the Waterstone Plaintiffs
Against all Individual Defendants

99. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

100. Individual Defendants MacDonald, Steenkamp, Bolger, Fusco, Gelber, Glynn,
Goldberg, Schamis and Sloan each signed the Registration Statement.

101. At the time the documents incorporated by reference in the 2016 Notes Offering
Materials were filed, Corzine was a director of MF Global.

102. As set forth above, the 2016 Notes Offering Materials contained untrue statements
of material fact, including the financial statements and internal controls of MF Global. In
addition, the 2016 Notes Offering Materials omitted to state other facts required to be stated
therein or necessary to make the statements therein not misieading, including MF Global’s

violations of GAAP and internal control deficiencies. The misstated and omitted facts would

have been material to a reasonable person reviewing the 2016 Notes Offering Materials,

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103, The Individual Defendants owed to the 2016 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2016 Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

104, The Individual Defendants did not make a reasonable and diligent investigation of
the statements contained or incorporated by reference in the 2016 Notes Offering Materials, and
did not possess reasonable grounds for believing that the 2016 Notes Offering Materials did not
contain an untrue statement or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading.

105. The Individual Defendants were negligent in failing to conduct a reasonable
investigation of the statements contained in the 2016 Notes Offering Materials regarding MF
Global’s financial performance, operations, and internal controls, and did not possess reasonable
grounds for believing that the statements therein were true and not materially misstated.

166. The Lord Abbett Plaintiffs and the Waterstone Plaintiffs purchased the 2016
Notes issued pursuant or traceable to the 2016 Notes Offering Materials, and were damaged
thereby.

107. The Lord Abbett Plaintiffs and the Waterstone Plaintiffs did not know, nor in the
exercise of reasonable diligence could they have known, of the untrue statements of material fact _
or omissions of material facts in the 2016 Notes Offering Materials when they purchased or
acquired their securities.

108. Therefore, the Individual Defendants are liable to the Lord Abbett Plaintiffs and

the Waterstone Plaintiffs for violations of Section 11 of the ‘33 Act.

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COUNT 10
Section 12(a)(2) of the °33 Act
On behalf of the 2016 Note Plaintiffs
Against the Underwriter Defendants

109. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

110. Underwriter Defendants are sellers within the meaning of the ‘33 Act because
they transferred title to purchasers of MF Global’s 2016 Notes in the 2016 Notes Offering.

111. As alleged herein, the 2016 Notes Offering Materials contained untrue statements
of material fact, including the financial statements and internal controls of MF Global. In
addition, the 2016 Notes Offering Materials omitted to state material facts required to be stated
therein or necessary to make the statements therein not misleading, including MF Global’s
violations of GAAP and internal control deficiencies.

112. The misstated and omitted facts would have been material to a reasonable person
reviewing the 2016 Notes Offering Materials.

113. The Underwriter Defendants owed to 2016 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2016 Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

114. The Underwriter Defendants did not make a reasonable and diligent investigation
of the statements contained or incorporated by reference in the 2016 Notes Offering Materials
and did not possess reasonable grounds for believing that the 2016 Notes Offering Materials did

not contain an untrue statement of material fact or omit to state a material fact required to be

stated therein or necessary to make the statements therein not misleading.

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115. The 2016 Note Plaintiffs purchased MF Global’s 2016 Notes in the 2016 Notes
Offering, and were damaged thereby,

116. The 2016 Note Plaintiffs did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of materia! fact or omissions of material facts in
the 2016 Notes Offering Materials when they purchased or acquired the securities.

117. Therefore, the Underwriter Defendants are liable to the 2016 Note Plaintiffs for
violations of Section 12(a)(2) of the ‘33 Act. The 2016 Note Plaintiffs hereby tender their 2016
Notes to their respective sellers and seek rescission of their purchases to the extent that they

continue to own such securities.
Section 15(a) of the ’33 Act
On behalf of the Lord Abbett Plaintiffs and the Waterstone Plaintiffs
Against the Officer Defendants

118. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

119. MF Global violated Section 11 of the ‘33 Act by issuing the 2016 Notes Offering
Materials, which contained untrue statements of material fact and omitted to state material facts
required to be stated therein or necessary to make the statements therein not misleading. The
misstated and omitted facts would have been material to a reasonable person reviewing the 2016
Notes Offering Materials.

120. The Officer Defendants were controlling persons of MF Global when the 2016
Notes Offering Materials were filed and became effective, because of their senior executive

positions with MF Global and their direct involvement in the Company’s day-to-day operations,

including its financial reporting and accounting functions.

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121. By virtue of the foregoing, the Officer Defendants each had the power to
influence and control, and did influence and control, directly or indirectly, the decision-making
of MF Global, including the content of its financial statements and the 2016 Notes Offering
Materials.

122. The Officer Defendants acted negligently and without reasonable care regarding
the accuracy of the information contained and incorporated by reference in the 2016 Notes
Offering Materials and lacked reasonable grounds to believe that such information was accurate
and complete in al! material respects.

123, The Lord Abbett Plaintiffs and the Waterstone Plaintiffs purchased MF Global’s
2016 Notes pursuant or traceable to the 2016 Notes Offering Materials, and were damaged
thereby.

124. The Lord Abbett Plaintiffs and the Waterstone Plaintiffs did not know, nor in the
exercise of reasonable diligence could they have known, of the untrue statements of material fact
or omissions of material facts in the 2016 Notes Offering Materials when they purchased or
acquired 2016 Notes.

125. Therefore, the Officer Defendants are liable to The Lord Abbett Plaintiffs and the
Waterstone Plaintiffs for violations of Section 15(a) of the 33 Act.

COUNT V
Section 11 of the °33 Act
On behalf of 2018 Note Plaintiffs
Against all Underwriter Defendants (except Sandler)

126. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

127. Underwriter Defendants Citi, DB, Goldman, Merrill, J.P. Morgan, and RBS

underwrote the 2018 Notes Offering.

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128. As set forth above, the 2018 Notes Offering Materials contained untrue statements
of material fact, including the financial statements and internal controls of MF Global. In
addition, the 2018 Notes Offering Materials omitted to state other facts required to be stated
therein or necessary to make the statements therein not misleading, including MF Global’s
violations of GAAP and internal control deficiencies. The misstated and omitted facts would
have been material to a reasonable person reviewing the 2018 Notes Offering Materials.

129. The Underwriter Defendants owed to the 2018 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2018 Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

130. The Underwriter Defendants did not make a reasonable and diligent investigation
of the statements contained or incorporated by reference in the 2018 Notes Offering Materials,
and did not possess reasonable grounds for believing that the 2018 Notes Offering Materials did
not contain an untrue statement or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading.

131. The Underwriter Defendants named in this Count did not conduct a reasonable
investigation of the statements contained in and incorporated by reference in the 2018 Notes
Offering Materials and did not possess reasonable grounds for believing that the statements
therein were true and not materially misstated. In particular, these Underwriter Defendants did
not conduct a reasonable investigation into the accuracy of the statements regarding MF Global’s
reported Deferred Tax Assets, financial performance, operations or internal controls. These

Underwriter Defendants could not simply rely on the work of MF Global’s auditor because the

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investing public relies on the underwriters to obtain and verify relevant information and then
make sure that important facts are accurately disclosed. Thus, the Underwriter Defendants must
conduct their own, independent and reasonable investigation into the accuracy of the Company's
financial statements, assessments of internal controls, and other disclosures, and they were
negligent in failing to do so sufficiently in connection with the 2018 Notes Offering.

132. The 2018 Note Plaintiffs purchased the 2018 Notes issued pursuant or traceable to
the 2018 Notes Offering Materials, and were damaged thereby.

133. The 2018 Note Plaintiffs did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the 2018 Notes Offering Materials when they purchased or acquired their securities.

134. Therefore, the Underwriter Defendants are liable to the 2018 Note Plaintiffs for
violations of Section 11 of the 33 Act.

COUNT VI
Section 11 of the °33 Act
On behalf of all 2018 Note Plaintiffs (except Lazard)
Against all Individual Defendants

135, The preceding paragraphs of the Complaint are incorporated as if stated fully
herein,

136. Individual Defendants MacDonald, Steenkamp, Bolger, Fusco, Gelber, Glynn,
Goldberg, Schamis and Sloan each signed the Registration Statement.

137. At the time the documents incorporated by reference in the 2018 Notes Offering
Materials were filed, Corzine was a director of MF Global.

138. Asset forth above, the 2018 Notes Offering Materials contained untrue statements

of material fact, including the financial statements and internal controls of MF Global. In

addition, the 2018 Notes Offering Materials omitted to state other facts required to be stated

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therein or necessary to make the statements therein not misleading, including MF Global’s
violations of GAAP and internal control deficiencies. The misstated and omitted facts would
have been material to a reasonable person reviewing the 2018 Notes Offering Materials.

139. The Individual Defendants owed to the 2018 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2018 Notes Offering
Materials, fo ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

140. The Individual Defendants did not make a reasonable and diligent investigation of
the statements contained or incorporated by reference in the 2018 Notes Offering Materials, and
did not possess reasonable grounds for believing that the 2018 Notes Offering Materials did not
contain an untrue statement or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading.

141. The Individual Defendants were negligent in failing to conduct a reasonable
investigation of the statements contained in the 2018 Notes Offering Materials regarding MF
Global’s financial performance, operations, and internal controls, and did not possess reasonable
grounds for believing that the statements therein were true and not materially misstated.

142. The 2018 Note Plaintiffs purchased the 2018 Notes issued pursuant or traceable to
the 2018 Notes Offering Materials, and were damaged thereby.

143. The 2018 Note Plaintiffs did not know, nor in the exercise of reasonable diligence

could they have known, of the untrue statements of materia! fact or omissions of material facts in

the 2018 Notes Offering Materials when they purchased or acquired their securities.

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144. Therefore, the Individual Defendants are liable to the 2018 Note Plaintiffs (except
Lazard) for violations of Section 11 of the ‘33 Act.
COUNT VU
Section 12(a)(Q) of the °33 Act
On behalf of all the 2018 Note Plaintiffs
Against the Underwriter Defendants (except Sandler)

145. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

146. Underwriter Defendants Citi, DB, Goldman, Merrill, J.P. Morgan, and RBS are |
sellers within the meaning of the ‘33 Act because they transferred title to purchasers of MF
Global’s 2018 Notes in the 2018 Notes Offering.

147. As alleged herein, the 2018 Notes Offering Materials contained untrue statements
of material fact, including the financial statements and internal controls of MF Global. In
addition, the 2018 Notes Offering Materials omitted to state material facts required to be stated
therein or necessary to make the statements therein not misleading, including MF Global's
violations of GAAP and internal control deficiencies.

148. The misstated and omitted facts would have been material to a reasonable person
reviewing the 2018 Notes Offering Materials.

149, These Underwriter Defendants owed to 2018 Note Plaintiffs the duty to make a
reasonable and diligent investigation of the statements contained in the 2018 Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

150, These Underwriter Defendants did not make a reasonable and diligent

investigation of the statements contained or incorporated by reference in the 2018 Notes Offering

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Materials and did not possess reasonable grounds for believing that the 2018 Notes Offering
Materials did not contain an untrue statement of material fact or omit to state a material fact
required to be stated therein or necessary to make the statements therein not misleading.

151. The 2018 Note Plaintiffs purchased MF Global’s 2018 Notes in the 2018 Notes
Offering, and were damaged thereby.

152, The 2018 Note Plaintiffs did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the 2018 Notes Offering Materials when they purchased or acquired the securities.

153. Therefore, Underwriter Defendants Citi, DB, Goldman, Merrill, J.P. Morgan, and
RBS are liable to the 2018 Note Plaintiffs for violations of Section 12(a)(2) of the ‘33 Act. The
2018 Note Plaintiffs hereby tender their 2018 Notes to their respective sellers and seek rescission
of their purchases to the extent that they continue to own such securities.

COUNT Vi
Section 15(a) of the °33 Act
On behalf of the 2018 Note Plaintiffs (except Lazard)
Against the Officer Defendants

154. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

155. MEF Global violated Section 11 of the ‘33 Act by issuing the 2018 Notes Offering
Materials, which contained untrue statements of material fact and omitted to state material facts
required to be stated therein or necessary to make the statements therein not misleading. The
misstated and omitted facts would have been material to a reasonable person reviewing the 2018
Notes Offering Materials.

156. The Officer Defendants were controlling persons of MF Global when the 2018

Notes Offering Materials were filed and became effective, because of their senior executive

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positions with MF Global and their direct involvement in the Company’s day-to-day operations,
including its financial reporting and accounting functions.

157. By virtue of the foregoing, the Officer Defendants each had the power to
influence and control, and did influence and control, directly or indirectly, the decision-making
of ME Global, including the content of its financial statements and the 2018 Notes Offering
Materials.

158. The Officer Defendants acted negligently and without reasonable care regarding
the accuracy of the information contained and incorporated by reference in the 2018 Notes
Offering Materials and lacked reasonable grounds to believe that such information was accurate
and complete in all material respects.

159, The 2018 Note Plaintiffs purchased MF Global’s 2018 Notes pursuant or
traceable to the 2018 Notes Offering Materials, and were damaged thereby.

160. The 2018 Note Plaintiffs did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the 2018 Notes Offering Materials when they purchased or acquired 2018 Notes.

161. Therefore, the Officer Defendants are liable to the 2018 Note Plaintiffs (except
Lazard) for violations of Section 15{a) of the ‘33 Act.

COUNT IX
Section 11 of the °33 Act
On behalf of the Waterstone Funds
Against all Senior Notes Underwriter Defendants

162. The preceding paragraphs of the Complaint are incorporated as if stated fully

herein.

163. The Senior Notes Underwriter Defendants underwrote the Senior Notes Offering.

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164. As set forth above, the Senior Notes Offering Materials contained untrue
statements of material fact, including the financial statements and internal controls of MF
Global. In addition, the Senior Notes Offering Materials omitted to state other facts required to
be stated therein or necessary to make the statements therein not misleading, including MF
Global’s violations of GAAP and internal control deficiencies. The misstated and omitted facts
would have been material to a reasonable person reviewing the Senior Notes Offering Materials.

165. The Senior Note Underwriter Defendants owed to the Senior Note Plaintiffs the
duty to make a reasonable and diligent investigation of the statements contained in the Senior
Notes Offering Materials, to ensure that the statements contained or incorporated by reference
therein were true and that there was no omission to’ state a material fact required to be stated
therein or necessary to make the statements therein not misleading.

166. The Senior Notes Underwriter Defendants did not make a reasonable and diligent
investigation of the statements contained or incorporated by reference in the Senior Notes
Offering Materials, and did not possess reasonable grounds for believing that the Senior Notes
Offering Materials did not contain an untrue statement or omit to state a material fact required to
be stated therein or necessary to make the statements therein not misleading.

167. The Senior Notes Underwriter Defendants named in this Count did not conduct a
reasonable investigation of the statements contained in and incorporated by reference in the
Senior Notes Offering Materials and did not possess reasonable grounds for believing that the
statements therein were true and not materially misstated. In particular, these Underwriter
Defendants did not conduct a reasonable investigation info the accuracy of the statements
regarding MF Global’s reported Deferred Tax Assets, financial performance, operations or

internal controls. These Underwriter Defendants could not simply rely on the work of MF

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Global’s auditor because the investing public relies on the underwriters to obtain and verify
relevant information and then make sure that important facts are accurately disclosed. Thus, the
Underwriter Defendants must conduct their own, independent and reasonable investigation into
the accuracy of the Company’s financial statements, assessments of internal controls, and other
disclosures, and they were negligent in failing to do so sufficiently in connection with the 2018
Notes Offering.

168. The Waterstone Funds purchased the Senior Notes issued pursuant or traceable to
the Senior Notes Offering Materials, and were damaged thereby.

169. The Waterstone Funds did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue staternents of material fact or omissions of material facts mn
the Senior Notes Offering Materials when they purchased or acquired their securities.

17G. Therefore, the Senior Notes Underwriter Defendants are liable to the Waterstone
Funds for violations of Section 11 of the ‘33 Act.

COUNT X
Section 11 of the °33 Act
On behalf of the Waterstone Funds
Against all Individual Defendants

171. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

172. Individual Defendants MacDonald, Steenkamp, Bolger, Fusco, Gelber, Glynn,
Goldberg, Schamis and Sioan each signed the Registration Statement.

173. Atthe time the documents incorporated by reference in the Senior Notes Offering
Materials were filed, Corzine was a director of MF Global,

174. As set forth above, the Senior Notes Offering Materials contained untrue

statements of material fact, including the financial statements and internal controls of MF

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Global. In addition, the Senior Notes Offering Materials omitted to state other facis required to
be stated therein or necessary to make the statements therein not misleading, including MF
Global’s violations of GAAP and internal control deficiencies. The misstated and omitted facts
would have been material to a reasonable person reviewing the Senior Notes Offering Materials.

175. The Individual Defendants owed to the Waterstone Funds the duty to make a
reasonable and diligent investigation of the statements contained in the Senior Notes Offering
Materials, to ensure that the statements contained or incorporated by reference therein were true
and that there was no omission to state a material fact required to be stated therein or necessary
to make the statements therein not misleading.

176. The Individual Defendants did not make a reasonable and diligent investigation of
the statements contained or incorporated by reference in the Senior Notes Offering Materials,
and did not possess reasonable grounds for believing that the Senior Notes Offering Materials
did not contain an untrue statement or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading.

177. The Individual Defendants were negligent in failing to conduct a reasonable
investigation of the statements contained in the Senior Notes Offering Materials regarding MF
Global’s financial performance, operations, and internal controls, and did not possess reasonabie
grounds for believing that the statements therein were true and not materially misstated,

178. The Waterstone Funds purchased the Senior Notes issued pursuant or traceable to
the Senior Notes Offering Materials, and were damaged thereby.

179. The Waterstone Funds did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts m

the Senior Notes Offering Materials when they purchased or acquired their securities.

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180. Therefore, the Individual Defendants are liable fo the Waterstone Funds for
violations of Section 11 of the ‘33 Act.
COUNT XI
Section 12(a)(2) of the ’33 Act
On behalf of the Waterstone Funds
Against Jefferies

181. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

182. Jefferies is a seller within the meaning of the ‘33 Act because they transferred title
to purchasers of MF Global’s Senior Notes in the Senior Notes Offering.

183. As alleged herein, the Senior Notes Offering Materials contained untrue
statements of material fact, including the financial statements and internal controls of MF
Global. In addition, the Senior Notes Offering Materials omitted to state material facts required
to be stated therein or necessary to make the statements therein not misleading, including MF
Global’s violations of GAAP and internal contro! deficiencies.

184. The misstated and omitted facts would have been material to a reasonable person
reviewing the Senior Notes Offering Materials,

185. Jefferies owed to Waterstone Funds the duty to make a reasonable and diligent
investigation of the statements contained in the Senior Notes Offering Materials, to ensure that
the statements contained or incorporated by reference therein were true and that there was no
omission to state a material fact required to be stated therein or necessary to make the statements
therein not misleading.

186. Jefferies did not make a reasonable and diligent investigation of the statements
contained or incorporated by reference in the Senior Notes Offering Materials and did not

possess reasonable grounds for believing that the Senior Notes Offering Materials did not

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contain an untrue statement of material fact or omit to state a material fact required to be stated
therein or necessary to make the statements therein not misleading.

187. The Waterstone Funds purchased MF Global’s Senior Notes in the Senior Notes
Offering from Jefferies, and were damaged thereby.

188. The Waterstone Funds did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the Senior Notes Offering Materials when they purchased or acquired the securities.

189. Therefore, Jefferies is liable to the Waterstone Funds for violations of Section
12(a\(2) of the ‘33 Act. The Waterstone Funds hereby tender their Senior Notes to Jefferies and
seek rescission of their purchases to the extent that they continue to own such securities.

COUNT XIE
Section 15(a) of the ’33 Act
On behalf of the Waterstone Funds
Against the Officer Defendants

190. The preceding paragraphs of the Complaint are incorporated as if stated fully
herein.

191. ME Global violated Section 11 of the ‘33 Act by issuing the Senior Notes
Offering Materials, which contained untrue statements of material fact and omitted to state
material facts required to be stated therein or necessary to make the statements therein not
misleading. The misstated and omitted facts would have been material to a reasonable person
reviewing the Senior Notes Offering Materials.

192. The Officer Defendants were controlling persons of MF Global when the Senior
Notes Offering Materials were filed and became effective, because of their senior executive

positions with MF Global and their direct involvement in the Company's day-to-day operations,

including its financial reporting and accounting functions.

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193. By virtue of the foregoing, the Officer Defendants each had the power to
influence and control, and did influence and control, directly or indirectly, the decision-making
of MF Global, including the content of its financial statements and the Senior Notes Offering
Materials.

194, The Officer Defendants acted negligently and without reasonable care regarding
the accuracy of the information contained and incorporated by reference in the Senior Notes
Offering Materials and lacked reasonable grounds to believe that such information was accurate
and complete in all material respects.

195. The Waterstone Funds purchased MF Global’s Senior Notes pursuant or traceable
to the Senior Notes Offering Materials, and were damaged thereby.

196. The Waterstone Funds did not know, nor in the exercise of reasonable diligence
could they have known, of the untrue statements of material fact or omissions of material facts in
the Senior Notes Offering Materials when they purchased or acquired the Senior Notes.

197. Therefore, the Officer Defendants are liable to the Waterstone Funds for
violations of Section 15(a) of the “33 Act.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request an Order and Judgment from the Court as follows:

1. Determining that Defendants have violated Sections 11, 12, and 15 of the °33
Act and awarding Plaintiffs compensatory damages, rescission, or rescissory
damages in an amount to be determined at trial, including pre-judgment
interest, attorneys’ fees, and costs; and

2. Granting Plaintiffs such further and other relief as the Court deems just and

necessary,

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Dated: January AX , 2014

ROSS RENS TEIN LLC
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Ff Ross

Jighn Orenstein
: arry Niska
22? South Ninth Street, Suite 470
Minneapolis, MN 55402
Telephone: (612} 436-9800

ATTORNEYS FOR PLAINTIFFS

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